                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                          DOCKET NO. 1:16-cr-00039-MOC-DLH

 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )
                                                         )
 Vs.                                                     )                 ORDER
                                                         )
 DANNY TERRON RONEY,                                     )
                                                         )
                       Defendant.                        )


         THIS MATTER is before the court on defendant’s pro se Motion to Dismiss. Review of

the pleadings reveals that defendant is being well represented by experienced counsel; thus,

defendant’s filing of a pro se motion is inappropriate as provided in Local Criminal Rule 47.1(g).

Defendant should discuss with his excellent attorney any concerns he has as to the charging

Instrument. He is also cautioned not to make pro se filings with the Court as they may contain

admissions or statements that could later be used against him by the government. Having

considered defendant’s pro se motion and reviewed the pleadings, the court enters the following

Order.

                                          ORDER

         IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to Dismiss (#250) is

DENIED without prejudice.




 Signed: December 14, 2017




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